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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTSVILLE DIVISION

    BABY DOE, et al.,

                   Plaintiffs,
                                                               CIVIL NO: 3:22-cv-00049-NKM-JCH
           -v.-

    JOSHUA MAST, et al.,

                   Defendants,

    and

    UNITED  SECRETARY                OF      STATE
    ANTONY BLINKEN, et al.

                   Nominal Defendants.


           [PROPOSED] ORDER DENYING MOTION FOR PROTECTIVE ORDER

          Having reviewed the motion seeking a protective order (Dkt. No. 203) filed by the United

  States Secretary of State Antony Blinken and United States Secretary of Defense General Lloyd

  Austin (“Federal Defendants”), and having further reviewed all filings in support of and in opposition

  to the motion, the Court finds that the motion fails to provide grounds for a protective order, and the

  motion is hereby DENIED.

          SO ORDERED.

          Dated: ___________                             ___________________




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